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IN THE UNITED STATES DISTRICT COURT

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FoR THE WESTERN DISTRICT oF TENNESSEE l L
EASTERN DIVISION JUL BY
l
MAVERICK RECoRDING wu. S_ Dj;- Q%
C()MPANY, a California joint venture; 'D' OF rA"/'bf co‘uc’@fk
soNY BMG MUSIC '~’aca§,,

ENTERTAINMENT, a Delaware
general partnership; CAPITOL
RECORDS, INC., a Delaware
corporation; ATLANTIC
RECORDING CORPORATION, a
Delaware corporati0n; ARISTA
RECORDS LLC, a Delaware limited
liability company; UMG
RECORDINGS, INC., a Delaware
corporation; INTERSCOPE
RECORDS, a California general
partnership; and WARNER BROS.
RECORDS INC., a Delaware
corporation,

Case No. 1-05-1053-T-AN
Judge Todd

Magistrate Judge - Anderson

Plaintiffs,

V.

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BOBBY JO ROSSON,

Defendant.

DEFAULT .]UDGMENT AND PERMANENT INJUNCTION
Based upon Plaintiffs' Motion For Default Judgment By The Court, and good cause
appearing, it is hereby Ordered and Adjudged that:
l. Plaintiffs seek the minimum statutory damages of S750 per infringed Work, as
authorized under the Copyright Act (l7 U.S.C. § 504(c)(l)), for each of the eight sound
recordings listed in Exhibit A to the Complaint. Accordingly, having been adjudged to be in

default, Defendant shall pay damages to Plaintiffs for infringement of Plaintiffs' copyrights in the

Thls document entered on the docket she tln compliance
with Ru\e 58 and.'or,79 (a) FRCP on l j 19 l f 2 5

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sound recordings listed in Exhibit A to the Complaint, in the total principal sum of Six Thousand
Dollars ($6,000.00).

2. Defendant shall further pay Plaintiffs` costs of suit herein in the amount of Three
Hundred SiXty-Five Dollars ($365.00).

3. Defendant shall be and hereby is enjoined from directly or indirectly infringing

Plaintiffs' rights under federal or state law in the following copyrighted sound recordings:

» "Daughter," on album "Vs.," by artist "Pear] Jam" (SR# 207-219);
o "Something To Believe In," on album "Flesh and Blood," by artist "Poison"

(sR# 119-355);

- "l'm A Thug," on album “Thugs Are Us," by artist "Trick Daddy" (SR# 303-
748);

. "Elevators (Me & You)," on album "Atliens," by artist "Outkast" (SR# 233-
296);

- "Da Art Of Storytellin'," on album "Aquemini," by artist "Outkast" (SR# 264-
092);

- "Ride Wit Me," on album "Country Grammar," by artist "Nelly" (SR# 281-
782);

~ "Humble l\/lumble," on album “Stankonia," by artist "Outkast" (SR# 306-741);

- "I‘d Rather Be in Love," on album "The Spirit Room," by artist*"l\/lichelle Branch"

(sR# 303-732);

and in any other sound recording, whether now in existence or later created, that is owned or
controlled by the Plaintiffs (or any parent, subsidiary, or affiliate record label of Plaintiffs)
("Plaintiffs' Recordings"), including without limitation by using the Internet or any online media

distribution system to reproduce (i.e., download) any of Plaintiffs1 Recordings, to distribute (i.e.,

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upload) any of Plaintiffs' Recordings, or to make any of Plaintiffs'- Recordings available for
distribution to the public, except pursuant to a lawful license orwith the express authority of
Plaintiffs. Defendant also shall destroy all copies of Plaintiffs' Recordings that Defendant has
downloaded onto any computer hard drive or server without Plaintiffs' authorization and shall
destroy all copies of those downloaded recordings transferred onto any physical medium or

device in Defendant'S possession, custody, or control.

Dated: jt?/ W/”}/ MS/ HOW LM

 

ames D. Todd
Uni ed States District Judge

 

      
   

    

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case l:05-CV-01053 was distributed by faX, mail, or direct printing on
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.l ay S. Bowen

BOWEN RILEY WARNOCK & JACOBSON
1906 West End Ave.

Nashville, TN 37203

Honorable .l ames Todd
US DISTRICT COURT

